612 F.2d 232
    UNITED STATES of America, Plaintiff-Appellee,v.Enrique RAMIREZ, Jr., Defendant-Appellant.
    Nos. 79-2385, 79-2386.
    
      Summary Calendar.*
      United States Court of Appeals, Fifth Circuit.
      Feb. 20, 1980.Rehearing and Rehearing En Banc Denied April 11, 1980.
      Appeals from the United States District Court for the Western District of Texas; Adrian A. Spears, Judge.
      Enrique Ramirez, Jr., pro se.
      LeRoy Morgan Jahn, Asst. U. S. Atty., San Antonio, Tex., for plaintiff-appellee.
      Before GOLDBERG, RUBIN and POLITZ, Circuit Judges.
      PER CURIAM.
    
    
      1
      In these consolidated appeals the defendant attacks the district court's denial of his 28 U.S.C. Sec. 2255 motions.  In these motions the defendant raises various attacks on his prior convictions for possession and distribution of cocaine and heroin obtained by means of the defendant's guilty pleas.  The defendant contends that these pleas were accepted in a manner which violated almost every provision of Fed.R.Crim.P. 11, that he was ineffectively represented by counsel in the presentation of these pleas, and that the magistrate below erred in not holding an evidentiary hearing with regard to his habeas petition.
    
    
      2
      Having liberally construed the defendant's pro se complaint, and after having carefully read the record, we find these claims to be devoid of merit, and we affirm.
    
    
      3
      AFFIRMED.
    
    
      
        *
         Fed.R.App.P. 34(a); 5th Cir.R. 18
      
    
    